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                    1   COOLEY LLP
                        BOBBY GHAJAR (198719)
                    2   (bghajar@cooley.com)
                        COLETTE GHAZARIAN (322235)
                    3   (cghazarian@cooley.com)
                        1333 2nd Street, Suite 400
                    4   Santa Monica, California 90401
                        Telephone:    (310) 883-6400
                    5
                        MARK WEINSTEIN (193043)
                        (mweinstein@cooley.com)
                    6
                        KATHLEEN HARTNETT (314267)
                        (khartnett@cooley.com)
                    7
                        JUDD LAUTER (290945)
                        (jlauter@cooley.com)
                    8
                        ELIZABETH L. STAMESHKIN (260865)
                        (lstameshkin@cooley.com)
                    9
                        3175 Hanover Street
                        Palo Alto, CA 94304-1130
                   10
                        Telephone:    (650) 843-5000
                   11   CLEARY GOTTLIEB STEEN & HAMILTON LLP
                        ANGELA L. DUNNING (212047)
                   12   (adunning@cgsh.com)
                        1841 Page Mill Road, Suite 250
                   13   Palo Alto, CA 94304
                        Telephone: (650) 815-4131
                   14
                        Counsel for Defendant Meta Platforms, Inc.
                   15

                   16                              UNITED STATES DISTRICT COURT

                   17                           NORTHERN DISTRICT OF CALIFORNIA

                   18
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC
                   19
                           Individual and Representative Plaintiffs,    DEFENDANT META PLATFORMS, INC.’S
                                                                        OPPOSITION TO PLAINTIFFS’ MOTION TO
                   20
                               v.                                       MODIFY STIPULATION AND ORDER RE
                                                                        SCHEDULE (DKT. 244)
                   21
                        META PLATFORMS, INC., a Delaware
                        corporation;
                   22
                                                        Defendant.      Discovery Cut-Off: December 13, 2024
                   23
                                                                        Date Action Filed: July 7, 2023
                   24

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ATTORNEYS AT LAW                                                                 META’S OPP. TO PLS.’ MOT. TO MODIFY
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                    1          Plaintiffs’ Motion to Modify Stipulation and Order re Schedule (Dkt. 244, “Motion”),
                    2   should be denied. Since the Court allowed a two-month extension of the fact discovery cutoff (Dkt.
                    3   211), Plaintiffs have sought to nitpick at nearly every aspect of Defendant Meta Platforms, Inc.’s
                    4   (“Meta’s”) existing written discovery rather than focusing on obtaining any additional discovery to
                    5   address fair use. Plaintiffs then failed to comply with the stipulated, Court-ordered deadline of
                    6   October 23, 2024—a deadline sought by Plaintiffs—for “Letter Briefs re: Existing Written
                    7   Discovery” (Dkt. 238). Plaintiffs next threatened to seek sanctions if Meta did not stipulate to an
                    8   extension, see Dkt. 244-13, and thereafter offered to retract their brand-new demand for a discovery
                    9   referee if Meta agreed to extend the missed deadline, see Hartnett Decl. Ex. 1 (10/29/24 email).
                   10   This cannot be what the Court had in mind when it “reluctantly” extended the case schedule. Dkt.
                   11   211. The few remaining weeks of discovery should be spent conducting discovery, not rehashing
                   12   immaterial disputes to only have Plaintiffs claim they need yet another discovery extension.
                   13   Lacking good cause, Plaintiffs’ Motion should be denied.
                   14   I.     Plaintiffs Ignore The Rules Governing Their Extension Request.
                   15          Under Federal Rule of Civil Procedure 16(b)(4), “[a] schedule may be modified only for
                   16   good cause and with the judge’s consent.” Good cause requires “reasonable diligence.” Noyes v.
                   17   Kelly Servs., 488 F.3d 1163, 174 n.6 (9th Cir. 2007) (citing Johnson v. Mammoth Recreations, 975
                   18   F.2d 604, 609 (9th Cir. 1992) (absent diligence, “the inquiry should end”); see, e.g., Casillas v.
                   19   Bayer Corp., 2024 WL 3440449, at *2 (N.D. Cal. July 16, 2024) (denying motion to extend).
                   20   Federal Rule of Civil Procedure 6(b) also requires “good cause” for the extension of a deadline,
                   21   and where, as here, the deadline “has expired,” the movant must also show “excusable neglect.”
                   22          The Civil Local Rules set forth additional requirements for a motion to extend case
                   23   deadlines. See Civil L.R. 6-1, 6-3. Among other things, a party moving for such an extension must
                   24   include a declaration that addresses several items, including “identif[ying] the substantial harm or
                   25   prejudice that would occur if the Court did not change the time.” Civil L.R. 6-3(3). Plaintiffs fail
                   26   to acknowledge, much less satisfy, these requirements. Their Motion should be denied.
                   27   II.    Plaintiffs Violated The Court-Ordered Deadline They Sought, With No Good Cause.
                   28          As the Court recently noted to Plaintiffs, it was “really hard to entertain another request to
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                    1   extend the discovery deadlines when all your side seems to be doing is doubling down on this—
                    2   what I believe to be a false assertion—that Meta is stonewalling you.” 10/4/24 Tr. at 17. Now
                    3   Plaintiffs again seek to blame Meta for their own lack of diligence—this time, for Plaintiffs’ failure
                    4   to comply with the Court-ordered deadline of October 23, 2024 for briefing existing discovery
                    5   issues. Meta has done nothing wrong and has complied with all deadlines. It has been working
                    6   around the clock to reach reasonable compromises to avoid unnecessary motion practice,
                    7   coordinate and prepare for dozens of depositions around the world, and review tens of thousands
                    8   of documents from new custodians and in response to new document requests. In contrast,
                    9   Plaintiffs missed a Court-ordered deadline and now seek, baselessly, to blame Meta.
                   10             The relevant chronology, which Plaintiffs’ brief obscures, is clear. On October 1, 2024,
                   11   Plaintiffs’ new counsel at Boies Schiller Flexner (“BSF”) filed a motion to extend the fact discovery
                   12   cutoff and other case deadlines, claiming that “BSF has since dedicated a large team to reviewing
                   13   the case file” and that “[i]t is evident to BSF from its expedited review that this case will benefit
                   14   from some additional time for discovery.” Dkt. 193 at 2. Plaintiffs then listed several purported
                   15   issues with Meta’s existing discovery responses, see id. at 3-4, and proposed a deadline of October
                   16   11, 2024 for “Letter Briefs re: Addt’l Existing Discovery/Priv. Issues,” id. at 2. On October 4,
                   17   2024, the Court ordered a new fact discovery cutoff of December 13, 2024, required the parties to
                   18   submit a stipulation “about all surrounding dates,” and “urged” the parties “to bring any significant
                   19   discovery disputes to Judge Hixson's attention sooner rather than later.” Dkt. 211.
                   20             On October 9, 2024, BSF sent two letters to Meta complaining about Meta’s written
                   21   discovery responses to date. Dkt. 244-4, -5. The parties agreed to meet and confer and did so for
                   22   nearly three hours on October 16, 2024. Meanwhile, the parties negotiated the stipulation regarding
                   23   “all surrounding dates,” Dkt. 211, which they filed on October 11, 2024. Dkt. 227. The stipulation,
                   24   which the Court ordered on October 24, 2024 (Dkt. 238), has two dates relevant here: October 16,
                   25   2024 for “Meet and Confer re: Existing Written Discovery” (which the parties conducted) and
                   26   October 23, 2024 for “Letter Briefs re: Existing Written Discovery.” Id.1
                   27             On October 18, 2024, BSF sent Meta’s counsel an email memorializing its view of the
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                            The stipulation also had a deadline for supplementing initial disclosures, which the parties met.
ATTORNEYS AT LAW                                                                          META’S OPP. TO PLS.’ MOT. TO MODIFY
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                    1   parties’ October 16 meet and confer (Dkt. 244-8), and sent an additional email on Sunday, October
                    2   20 stating that Plaintiffs would seek a telephonic conference with Judge Hixson on October 21.
                    3   Dkt. 244-9 at 22-23. Meta responded with its written positions on the parties’ meet and confer
                    4   topics on October 21. Id. at 14-22. Plaintiffs contacted Judge Hixson’s chambers for a telephonic
                    5   conference, while at the same time not providing Meta with Plaintiffs’ portion of the joint letter
                    6   brief due on October 23, 2024. Dkt. No. 244-10; Hartnett Decl. Ex. 2. Meta did not oppose
                    7   Plaintiffs seeking a conference and indicated that it, too, might seek Judge Hixson’s guidance. Dkt.
                    8   No. 244-10 at 2. But Meta never conveyed, expressly or otherwise, that the parties were not bound
                    9   by the Court ordered October 23 deadline for “Letter Briefs re: Existing Written Discovery.” Judge
                   10   Hixson’s standing order makes clear that a telephonic conference is not a prerequisite to a joint
                   11   statement, see Hartnett Decl. Ex. 3, and the parties had filed joint statements previously without a
                   12   prior telephonic conference (indeed, Judge Hixson previously noted to the parties that he does not
                   13   usually resolve disputes of substance by telephonic conference).
                   14          On October 28, 2024, Plaintiffs implicitly acknowledged their missed deadline, sending
                   15   Meta a “proposed draft joint administrative motion” to allow submission of an overlength discovery
                   16   brief after October 23. Dkt. 244-13 at 4. Plaintiffs also newly raised the issue of a discovery
                   17   referee. See id. Meta responded by noting the missed deadline and stating that it “cannot agree to
                   18   your proposed stipulation because the issues were not timely briefed to the Court (and Judge Hixson
                   19   cannot modify the case schedule ordered by Judge Chhabria, in any event).” Id. at 3. Meta also
                   20   opposed appointment of a discovery referee at this late date. See id. Plaintiffs responded by
                   21   mischaracterizing the October 23 deadline as a non-binding “interim deadline” and threatened to
                   22   seek sanctions if Meta would not stipulate to an extension. Id. at 2. In response, Meta maintained
                   23   its objection, stating: “Rather than acknowledge that Plaintiffs failed to meet the Court-ordered
                   24   deadline and/or provide any of the showings required by [] Rule 16 and Civil L. R. 6-3, you instead
                   25   baselessly seek to blame Meta for Plaintiffs’ lapse and threaten to seek sanctions.” Hartnett Decl.
                   26   Ex. 1. Plaintiffs’ Motion followed.
                   27          Plaintiffs indisputably failed to meet the stipulated, Court-ordered October 23 deadline for
                   28   filing letter briefs regarding Meta’s existing written discovery responses, which certainly included
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                    1   the discovery issues raised in Plaintiffs’ October 9, 2024 letters. This is a deadline that Plaintiffs
                    2   originally sought in their motion to extend case deadlines. Dkt. 193. The parties negotiated and
                    3   stipulated to that deadline, Dkt. 227, and the Court ordered it, Dkt. 238. The purpose of that
                    4   deadline was to immediately present and resolve all existing discovery disputes, so that the parties
                    5   could spend the remaining weeks of fact discovery focused on additional written discovery and
                    6   conducting over 20 depositions. This deadline would be meaningless if it did not apply to the
                    7   discovery disputes that Plaintiffs now belatedly seek to present to the Court yet again. Yet rather
                    8   than acknowledge their error and show the good cause needed to overcome it, Plaintiffs first glossed
                    9   over their apparent oversight, and then sought to blame Meta for it. 2 None of that is appropriate.
                   10   And Plaintiffs misrepresent the one case they claim supports them, Cleveland v. Ludwig Inst. for
                   11   Cancer Rsch. Ltd., 2022 WL 959598 (S.D. Cal. Mar. 30, 2022). See Dkt. 244 at 4.3 Cleveland
                   12   does not, as Plaintiffs claim, “hold[] that there was no waiver of a discovery dispute deadline where
                   13   the movant followed the Court’s Civil Chamber Rules.” Id. Just the opposite: Cleveland found
                   14   waiver where Plaintiffs “failed to resolve their dispute in accordance with the Court’s procedure.”
                   15   Cleveland, 2022 WL 959598, at *9. Likewise here, the parties had a deadline of October 23, 2024
                   16   for “Letter Briefs re: Existing Written Discovery”; Judge Hixson’s procedures contemplate briefing
                   17   by written joint statement (a procedure the Parties have followed repeatedly); and rather than follow
                   18   that procedure, Plaintiffs sought a telephonic conference on unspecified issues as a substitute. 4 As
                   19   Plaintiffs failed to meet the requirements for the extension they seek, their Motion should be denied.
                   20   III.     Plaintiffs Will Have The Necessary Discovery Regardless Of Their Belated Disputes.

                   21            Plaintiffs’ submission omits the required declaration “identif[ying] the substantial harm or

                   22   prejudice that would occur if the Court did not change the time.” Civil L.R. 6-3(3). Instead, it

                   23   contains unsubstantiated and overblown rhetoric, such as that Plaintiffs “will be forced to litigate

                   24   with an underdeveloped record” and that “Meta intentionally sought to constrict” the record. Dkt.

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                   26     On October 29, Plaintiffs’ invoked the deadline, stating “Plaintiffs will not respond to any issues
                        raised by Meta that could have been raised before that [briefing] deadline.” Hartnett Ex. 5.
                        3
                   27     Attached as Hartnett Ex. 4.
                        4
                          Plaintiffs note that Meta has been meeting and conferring with Plaintiffs regarding claimed issues
                   28   with Plaintiffs’ existing discovery responses. See Dkt. 244 at 4. This is beside the point; Meta has
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                        been working to reach compromises; Meta has not sought to belatedly move on those issues.
ATTORNEYS AT LAW                                                                         META’S OPP. TO PLS.’ MOT. TO MODIFY
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                    1   244 at 4.5 This continued finger-pointing is unfounded. Plaintiffs’ belated gripes about Meta’s
                    2   existing discovery responses are moot, being resolved, or immaterial. And Plaintiffs will soon
                    3   receive responses to timely served additional discovery requests to Meta, as well as depositions of
                    4   an additional 20 Meta witnesses to obtain any information they otherwise have not yet received.
                    5   They thus will suffer no prejudice from not being able to belatedly brief their claimed issues.
                    6              None of the 13 items identified by Plaintiffs, see Dkt. 244 at 1-2, presents an issue that will
                    7   compromise the record the court needs to address fair use in this case:
                    8       1     Meta’s custodian and data source disclosures comply with the ESI Order. For months, Plaintiffs have known
                                  Meta’s custodians and the sources it searched.
                    9       2     Meta has offered a mutual exchange of search terms and hit counts.
                            3     Meta has told Plaintiffs it will amend certain of its interrogatory responses.
                   10       4     Meta addressed document imaging issues on a rolling basis and finished on Oct. 31, as it committed.
                            5     Plaintiffs speculate that some custodians “should have” more documents. Meta conducted a reasonable search
                   11             under the ESI Order. Meta’s responses to Plaintiffs’ new document requests are not yet due.
                            6     Meta has obliged numerous requests from Plaintiffs to provide them with hyperlinks (even where the
                   12             documents were already in Plaintiffs’ possession), and where available, Meta has or will provide them.
                            7     Meta has added the 5 document custodians ordered by the Court; Plaintiffs’ request to add 30+ does not
                   13             comply with the ESI Order and, in any event, comes too late.
                            8     Plaintiffs have long known (and said nothing about) Meta’s appropriate date range for its responses.
                   14       9     Meta produced documents relating to its Llama models. Llama 4 is still in development.
                            10    Meta produced source code absent document requests for it, and responded to Plaintiffs’ requests.
                   15       11    Meta produced datasets as previously agreed with Plaintiffs’ counsel. Given the size and burden of producing
                                  these datasets, Meta informed Plaintiffs that their requests for more copies were unreasonable and untimely.
                   16       12-   Meta did not agree to these new discovery modifications. It tried to resolve the interrogatory limit issue but
                            13    Plaintiffs refused to compromise or seek leave before vastly exceeding 25 interrogatories.
                   17   See Dkt 244-9, 14-22 (documenting Meta’s efforts and commitments to compromise).
                   18   IV.        A Special Master Is Unnecessary.
                   19              Plaintiffs did not raise the issue of a discovery referee until Oct. 28, in conjunction with
                   20   their attempt to stipulate around the Court’s Letter Brief deadline. Dkt. 244-13. Meta opposes this
                   21   request. A referee is unnecessary and would only introduce further delay given the time it would
                   22   take for any referee to get up to speed.6 Economy and efficiency would be best served by the parties
                   23   completing the many depositions to occur before December 13; responding to the additional written
                   24   discovery that has been propounded; and raising any disputes with Judge Hixson, who has been
                   25   promptly addressing timely raised discovery disputes as they arise.
                   26
                        5
                          On the other hand, the reopening/two-week extension prejudices Meta because it puts briefing
                   27   over months-old issues over depositions and further risks a delay of the discovery close given
                        enormous discovery demands of Plaintiffs, such as tripling ESI custodians.
                        6
                   28     Meta has not and will not “game” deadlines to run out the clock. Meta has complied with all
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                        deadlines and will continue to respond as quickly as it reasonably can in this fast-moving case.
ATTORNEYS AT LAW                                                                                      META’S OPP. TO PLS.’ MOT. TO MODIFY
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                    1   Dated: November 1, 2024                          COOLEY LLP
                    2
                                                                     By: /s/ Kathleen Hartnett
                    3                                                   Bobby Ghajar
                                                                        Mark Weinstein
                    4                                                   Kathleen Hartnett
                                                                        Judd Lauter
                    5                                                   Liz Stameshkin
                                                                        Colette Ghazarian
                    6
                                                                         CLEARY GOTTLIEB STEEN &
                    7                                                    HAMILTON LLP
                                                                         Angela L. Dunning
                    8                                                   Attorneys for Defendant
                                                                        META PLATFORMS, INC.
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ATTORNEYS AT LAW                                                                META’S OPP. TO PLS.’ MOT. TO MODIFY
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